AO 93C   (08/18)   Warrant   by Telephone   or Other Reliable   Electronic   Means
                                                                                                      o Original                o

                                                  UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                             Eastern District of Wisconsin

                     In the Matter of the Search of                                          )
               (BriJI,lY describe the property to be searched                                )
                or iiientify the person by name and address)                                 )      Case No,
   White 2014 Fore t River Grey Wolf travel trailer bearing Illinois license plate           )
    800938RT: Blul'! 2000 Dodge Ram 1500 bearing Wisconsin license plate
         TF4493, Whitewater Self Storage Unit #114, W8290 Sunrise Ln,                        )
                                                                                                               23-M-532 (SeD)
      Whitewater, WI, and the person of James Morgan (formerly Karactus                      )
        Blome) (DOB 5001993): all more fully described in Attachment A
                     I
                    tARRANT                 BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:         Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the           Eastern            District of               Wisconsin
(identify the person or describe the property to be searched and give its location):
  see Attachm~nt A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment S,




            YOU ARE COMMANDED to execute this warrant on or before            1-2-24                      (not to exceed 14 days)
      IXI   in the daytime 6:00 a.m. to lO:OOp.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Stephen C. Dries
                                                                                                                   (United States Magistrate Judge)

      o  Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (excep~ for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     o for __ days (not to exceed 30) 0 until, the facts justifying, the later specific date of

Date and time issued:                 12-19-23.8:40               am


City and state:                      Milwaukee, WI                                                              U.S. Magistrate Stephen C. Dries
                                                                                                                         Printed name and title

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AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (page 2)


                                                                             Return
               I
Case No.:                                Date and time warrant executed:                   Copy of warrant and inventory left with:
               23-M-532
                                            12/21/2023 at 0845 A.M.                         Left at premises
               I
Inventory 1ade in the presence of :

Inventory of the property taken and name( s) of any person( s) seized:


   Whitewa er Self Storage Unit #114, W8920 Sunrise Lane, Whitewater, WI
   - Potassi~m Nitrate
   - Hydroc~loric Acid
   - Sulfur Rowder
   - Alumin~m Powder
   - Calciu~ Hypochlorite
   - Hobby ruse
   - Laptop
   - (2) Desktop Computer
   - (4) USB Flash Drive
   - (3) CelilPhone
   - Device Components (Nails)
   - (2) Cardboard Tubes

   White 2014 Forest River Grey Wolf Trailer (IL 800938RT)
   - (6) Improvised Explosive Devices
   - (1) Cell Phone
   - Flash 9rive
   - Cardboard Tubes
   - (2) 11bPyrodex
   - Poor Mans James Bond Book
   - Anarchists Cookbook Book
   - Computer

   Person
   - Cell Phone




                                                                          Certification
               I
        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



             12/27/2023
Date:

                                                                                  Justin Mosiman, Special Agent/FBI
                                                                                                     Printed name and title




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